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 4
     Attorney for BRITTANY MAUNAKEA
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     THE UNITED STATES OF AMERICA,                 ) No. 17-60 MCE
11                   Plaintiff,                    )
12
                                                   ) STIPULATION AND
           v.                                      ) ORDER MODIFYING THE SCHEDULE
13                                                 ) FOR Ms. MAUNAKEA’S PRE-SENTENCE
                                                   ) REPORT
14   BRITTANY MAUNAKEA,                            )
15
                                                   )
                     Defendant.                    ) Judge: Hon. Morrison C. England, Jr.
16   ================================)
17
           The parties hereby stipulate to re-set the schedule for the pre-sentence report as follows:
18

19
           Judgment and Sentencing Date: June 14, 2018

20         Reply, or Statement of Non-opposition: June 7, 2018

21         Motion for Correction of the Presentence Report shall be filed with the Court and
           served on the Probation Officer and opposing counsel no later than: May 31, 2018
22

23         The Pre-Sentence Report shall be filed with the Court and Disclosed to counsel no
           later than: May 24, 2018
24
           Counsel's written objections to the Pre-Sentence Report shall be delivered to the
25
           probation officer and opposing counsel no later than: May 17, 2018
26
           The proposed Pre-Sentence Report shall be disclosed to counsel no later than: May 3,
27         2018
28




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 1   Dated: February 20, 2018                             Respectfully submitted,
 2

 3
                                                          /s/ Michael D. Long

 4                                                        MICHAEL D. LONG
                                                          Attorney for Brittany Maunakea
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 6
     Dated: February 20, 2018                             McGREGOR SCOTT
 7                                                        United States Attorney
 8
                                                          /s/ Amy Hitchcock
 9

10                                                        AMY HITCHCOCK
                                                          Assistant U.S. Attorney
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12
                                                  ORDER
13
            Pursuant to the stipulation of the parties and good cause having been shown, the Court
14
     hereby orders that the schedule for Ms. Maunakea’s pre-sentence report is amended as follows:
15
            Judgment and Sentencing Date: June 14, 2018
16
            Reply, or Statement of Non-opposition: June 7, 2018
17
            Motion for Correction of the Presentence Report shall be filed with the Court and
18
            served on the Probation Officer and opposing counsel no later than: May 31, 2018
19
            The Pre-Sentence Report shall be filed with the Court and Disclosed to counsel no
20          later than: May 24, 2018
21
            Counsel's written objections to the Pre-Sentence Report shall be delivered to the
22          probation officer and opposing counsel no later than: May 17, 2018

23          The proposed Pre-Sentence Report shall be disclosed to counsel no later than: May 3,
            2018
24

25          IT IS SO ORDERED.
     Dated: February 21, 2018
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